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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
------------------------------------------ x
- - - - - - - RICHARDSON,
TERESA        -                       CHRISTOPHER CARROLL,                            :
GINA ARFI, and AIDA ZYGAS,                                                            :
                                                                                      :
                                         Plaintiffs,                                  :           Case No. 20-cv-02262 (EGS)
                     -against-                                                        :
                                                                                      :
DONALD J. TRUMP, in his official capacity as President of :
the United States,                                                                    :
                                                                                      :
LOUIS DEJOY, in his official capacity as Postmaster                                   :
General of the United States, and                                                     :
                                                                                      :
UNITED STATES POSTAL SERVICE,                                                         :
                                                                                      :
                                         Defendants.                                  :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -:x
                                                                                      :
              PLAINTIFFS’ MOTION FOR IMMEDIATE STATUS                                 :        CONFERENCE
                                                                                      :
          Plaintiffs Teresa Richardson, Christopher Carroll, Gina Arfi,               : and Aida Zygas (collectively
                                                                                      :
“Plaintiffs”), by and through their undersigned counsel, respectfully: submit that the certification provided
                                                                                      :
by Defendants in Vote Forward v. DeJoy, No. 20-cv-02405 (EGS) (“Vote                  :      Forward”) and NAACP v.
                                                                                      :
USPS, No. 20-cv-02295 (EGS) (“NAACP”) does not comply with this                       : Court’s November 3, 2020 Minute
                                                                                      :
Order. (Compare, e.g., Defs.’ Resp. to this Court’s Nov. 3, 2020 Order, Vote Forward (D.D.C. Nov. 3,
                                                                                      :
                                                                                      :
2020), ECF No. 75, with Minute Order, dated Nov. 3, 2020) Plaintiffs therefore join the plaintiffs in Vote
                                                                                      :
Forward and NAACP in requesting an immediate status conference.: (See Motion for Immediate Status
                                                                                      :
Conference, Vote Forward (D.D.C. Nov. 3, 2020), ECF No. 77; Motion                    :    for Telephone Conference
                                                                                      :
(Emergency Motion), NAACP (D.D.C. Nov. 3, 2020), ECF No. 70):

Dated: Washington, D.C.
       November 3, 2020
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                                  Respectfully submitted,

                                  BERG & ANDROPHY

                                   /s/ David H. Berg
                                   David H. Berg
                                   (Admitted pro hac vice)
                                  Joel M. Androphy
                                   D.D.C. Bar No. 999769
                                   James W. Quinn
                                   (Admitted pro hac vice)
                                   Bronwyn M. James
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                                  Attorneys for Plaintiffs

                                  OF COUNSEL:

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                             CERTIFICATION OF SERVICE

      I hereby certify that true and correct copies of Plaintiffs’ Motion for Immediate Status

Conference were served on Defendants on November 3, 2020 via electronic filing on CM/ECF.


                                                    /s/ David H. Berg
                                                   David H. Berg




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